     Case 2:20-cv-00410-MKD     ECF No. 186    filed 07/01/22   PageID.3024 Page 1 of 4




 1   Fain Anderson VanDerhoef Rosendahl
 2   O’Halloran Spillane PLLC
     701 Fifth Avenue, Suite 4750
 3   Seattle, WA 98104
 4   Phone: (206) 749-0094

 5

 6                     UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WASHINGTON
 7
     THE ESTATE OF CINDY LOU HILL,              NO. 2:20-cv-00410-MKD
 8
     by and through its personal
 9   representative, Joseph A. Grube,           MOTION TO APPEAR PRO HAC
                                                VICE
10
                        Plaintiff,
11
           v.
12

13   NAPHCARE, INC, an Alabama
     corporation; and SPOKANE COUNTY,
14
     a political subdivision of the State of
15   Washington,
16
                        Defendants.
17
     RE
18
     ATTORNEY MOTION TO APPEAR PRO HAC VICE TO ALL PARTIES
19
                HEREIN AND TO THEIR ATTORNEYS OF RECORD
20
           Pursuant to Local Rule 83.2(c)(1), Defendant hereby applies for Edward J.
21
     McNelis, III of Sands Anderson PC to be permitted by this Court to appear as
22
     counsel pro hac vice in this matter on behalf of Defendant NAPHCARE, INC.
23
     (“Defendant.”).
24

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                                                         FAIN ANDERSON VANDERHOEF
      PRO HAC VICE- 1
                                                         ROSENDAHL O'HALLORAN SPILLANE, PLLC
                                                         701 Fifth Avenue, Suite 4750
                                                         Seattle, WA 98104
                                                         p. 206-749-0094  f. 206-749-0194
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 1         1. Edward J. McNelis, III is an attorney practicing with the law firm of
 2             Sands Anderson, PC, 1111 E. Main St., P.O. Box 1998, Richmond,
 3             Virginia 23218-1998; telephone no. (804) 648 -1636.
 4         2. Edward J. McNelis, III was admitted to the State Bar of Virginia (VSB
 5             No. 34003) and the following courts on the following dates:
 6
                a. United States District Court for the Eastern District of Virginia
 7
                b. United States District Court for the Western District of Virginia
 8
                c. United States Court of Appeals for the Fourth Circuit
 9
                d. United States District Court for the District of Colorado
10
                e. Pennsylvania (admitted in 1989)
11
                f.   West Virginia (admitted in 2000)
12

13
           3. Edward J. McNelis, III will be associated in this case with the following
14
               counsel who have been admitted to the United States Eastern District of
15
               Washington:      Ketia B. Wick, WSBA #27219 and Erin Ehlert,
16
               WSBA#26340 of FAIN ANDERSON VANDERHOEF ROSENDAHL
17
               O’HALLORAN SPILLANE, PLLC, 701 Fifth Avenue, Suite 7430,
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               Seattle, WA 98104, telephone no. (206) 749-0094. Said counsel will sign
19
               all pleadings, motions and other papers prior to filing and will
20
               meaningfully participate in this action.
21
           4. Because admitting Edward J. McNelis, III pro hac vice to participate in
22
               trial will cause neither delay nor prejudice to any of the parties,
23
               Defendant NaphCare, Inc. respectfully asks that this motion be granted.
24
           5. Edward J. McNelis, III is a member in good standing in all of the above-
25
               referenced courts. Edward J. McNelis, III does not have any pending
                                                          FAIN ANDERSON VANDERHOEF
      PRO HAC VICE- 2
                                                          ROSENDAHL O'HALLORAN SPILLANE, PLLC
                                                          701 Fifth Avenue, Suite 4750
                                                          Seattle, WA 98104
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 1             disciplinary actions and has never been subject to any disciplinary
 2             sanctions by any court or bar association.
 3         6. Plaintiff does not object to the relief requested in this motion.
 4         Defendant respectfully requests that the Court permit Edward J. McNelis,
 5   III to appear pro hac vice for Defendant in this matter
 6                DATED this 1st day of July, 2022.
 7

 8                                           /s/Ketia Wick
 9                                           Ketia B. Wick, WA #27219
                                             Erin Ehlert, WA#26340
10                                           Attorneys for Defendant NaphCare, Inc.
11
                                              Fain Anderson VanDerhoef Rosendahl
12                                            O’Halloran Spillane PLLC
13                                            701 Fifth Avenue, Suite 4750
                                              Seattle, WA 98104
14                                            Phone: (206) 749-0094
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                                                         FAIN ANDERSON VANDERHOEF
      PRO HAC VICE- 3
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                                                         Seattle, WA 98104
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 1                             CERTIFICATE OF SERVICE
 2         I hereby certify that on July 1, 2022, I electronically filed the foregoing with
 3   the Clerk of the Court using the CM/ECF System, which in turn automatically
 4   generated a Notice of Electronic Filing (NEF) to all parties in the case who are
 5   registered users of the CM/ECF System. The NEF for the foregoing specifically
 6   identifies recipients of electronic notice.
 7                                                               ☐ Regular U.S. Mail
      Counsel for Plaintiffs
      Erik J. Heipt, WSBA #28113                                 ☐ Facsimile
 8                                                               ☐ ABC Legal Messenger
      Edwin S. Budge, WSBA #24182                                 E-mail/ ECF
 9
      Budge & Heipt PLLC
10    808 East Roy Street
11    Seattle, WA 98102
      206-624-3060
12    Fax: 206-621-7323
13    erik@budgeandheipt.com
      ed@budgeandheipt.com
14

15    Counsel for Spokane County                                 ☐ Regular U.S. Mail
      John E. Justice, WSBA #23042                               ☐ Facsimile
16                                                               ☐ ABC Legal Messenger
      Law, Lyman, Daniel, Kamerrer & Bogdanovich,                 E-mail/ ECF
17    P.S.
18    PO Box 11880
      Olympia, WA 98508
19
      jjustice@lldkb.com
20

21                DATED this 1st day of July, 2022.
22

23                                            /s/Kenya Owens
                                              Kenya Owens, Legal Assistant
24

25


                                                             FAIN ANDERSON VANDERHOEF
      PRO HAC VICE- 4
                                                             ROSENDAHL O'HALLORAN SPILLANE, PLLC
                                                             701 Fifth Avenue, Suite 4750
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